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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


    KIERRA THOMAS, ET AL.                                    CIVIL ACTION

    VERSUS                                                      NO. 18-4373

    RANDALL CHAMBERS, ET AL.                               SECTION “R” (4)

                          ORDER AND REASONS

       Before the Court is (1) defendants’ objection to the Magistrate Judge’s

order denying their motion for leave to file a supplemental and amending

answer,1 (2) plaintiffs’ motion for relief from the Court’s order,2 and (3)

plaintiffs’ motion to extend the deadline to depose certain individuals. 3

Because defendants’ motion for leave to amend their answer satisfies the

factors in Federal Rules of Civil Procedure 16(b) and 15(a), the Court sets

aside the Magistrate Judge’s order pursuant to Rule 72(a). The Court also

denies both of plaintiffs’ motions.




1      R. Doc. 169.
2      R. Doc. 208.
3      R. Doc. 210.
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I.    BACKGROUND

      On April 6, 2018, plaintiffs filed this lawsuit against defendants

Randall Chambers, God’s Way Trucking, LLC, and Canal Insurance

Company, for injuries plaintiffs allegedly sustained in a motor vehicle

accident on Interstate 10.4 Plaintiffs allege that Chambers’s negligence

caused their injuries, and that God’s Way is liable for their damages as

Chambers’s employer under the doctrine of respondent superior.5 Canal

Insurance allegedly insured the tractor-trailer Chambers was driving on the

day of the collision. 6

      On April 30, 2018, defendants filed an answer to the complaint.7

Defendants asserted in this answer that “[a]ll alleged damages and/or

injuries made the subject of this litigation were proximately caused solely

and entirely by the negligence” of plaintiffs. 8

      On July 2, 2018, defendants filed a counterclaim alleging that

plaintiffs’ filing of this lawsuit constituted a fraudulent misrepresentation

entitling defendants to damages under Louisiana law.9 Defendants alleged


4     R. Doc. 1-4.
5     Id. at 4 ¶¶ 13-14.
6     Id.
7     R. Doc. 4.
8     Id. at 4.
9     R. Doc. 13.

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that plaintiffs intentionally caused the collision “and/or” suffered no

injuries, and that they filed a false complaint in order to recover damages in

litigation. 10 On October 24, 2018, the court dismissed the counterclaim

because (1) it was incompatible with an assertion that defendants relied on

plaintiffs’ alleged misrepresentations, and therefore was not legally

cognizable, and (2) it failed to satisfy the heightened pleading requirement

of Federal Rule of Civil Procedure 9(b).11

      Two days after the Court issued this order, defendants moved for leave

to file a supplemental and amending counterclaim.12 The proposed amended

counterclaim explained in greater detail the basis for their fraud claim.13

Defendants asserted (1) that Chambers “did not experience any type of

impact consistent with a motor vehicle accident,” (2) that Chambers only

merged into the right lane after “an unknown third vehicle swerved directly

in front of him into his lane 2-3 times,” and (3) that shortly after merging,

plaintiffs “flagged” Chambers down and indicated that they had been in a

collision. 14 Defendants further alleged that there is circumstantial evidence




10    Id. at 2 ¶ 4.
11    R. Doc. 20.
12    R. Doc. 22.
13    See R. Doc. 22-4.
14    Id. at 2 ¶ 3.

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supporting their allegation that plaintiffs’ claims are fabricated.15

Defendants asserted that plaintiffs have social or familial ties to the plaintiffs

in approximately fifteen other lawsuits involving similar collisions on

Interstate 10.16 The Court denied defendants leave to file the amended

counterclaim, because it did not remedy the fact that their claim for fraud

was not legally cognizable under Louisiana law. 17

      On January 14, 2019, defendants filed a motion for leave to file a

supplemental and amending answer. 18 In their proposed amended answer,

defendants assert that “[a]ll alleged damages and/or injuries made the

subject of this litigation were proximately caused solely and entirely by the

intentional acts and/or negligence” of plaintiffs. 19 Defendants explain:

      Plaintiffs were aware of other similar claims brought by or on
      behalf their neighbors, relatives, and associates involving
      disputed liability sideswipe type collisions with commercial
      vehicles. Plaintiffs conspired to cause and/or stage this incident.
      On or about April 24, 2017, Plaintiffs did in fact cause and/or
      stage this accident. They are now presenting a fraudulent claim
      arising out of the subject incident. 20




15    Id. at 2-9.
16    Id. Defendants generally assert that the individuals involved in these
other accidents are either plaintiffs’ relatives or “associates.” Id.
17    R. Doc. 37.
18    R. Doc. 33.
19    R. Doc. 33-4 at 4.
20    Id. at 9.

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Defendants alternatively assert that in the event plaintiffs establish that

Chambers acted negligently, plaintiffs’ “intentional acts . . . proximately

contributed to the occurrence of the alleged accident” and plaintiffs’

damages.21 Defendants’ motion was referred to Magistrate Judge Karen

Wells Roby. 22 On April 5, 2019, Magistrate Judge Roby denied defendants’

motion. 23 She concluded that permitting the amendment would be futile,

because defendants’ proposed amended answer did not state the affirmative

defense of fraud with enough particularity under Rule 9(b). 24

      The discovery deadline, and the date by when the parties had to file

their pretrial witness and exhibits lists, was March 18, 2019. 25 On April 12,

2019, plaintiffs moved to exclude eighteen of the witnesses that defendants

included on their witness list. 26 For many of these eighteen witnesses,

defendants had stated that they would testify to the following:

      Social media postings; social media friends, relationships with
      people involved in similar accidents in New Orleans;
      communications with and/or contact with Plaintiffs, before or
      after the alleged accident; and information regarding common




21    Id. at 5-7.
22    See R. Doc. 33.
23    R. Doc. 147 at 7-8.
24    Id.
25    R. Doc. 9.
26    See R. Doc. 154-1.

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      facts and direct connections to similar accidents in New
      Orleans.27
Plaintiffs argued that testimony regarding other allegedly staged collisions

was not relevant because the Court had dismissed defendants’ counterclaim

for fraud, and the testimony was therefore more prejudicial than probative

under Federal Rule of Evidence 403.28

      During the pretrial conference—which took place on April 16, 2019—

the Court discussed the admissibility of this lay testimony. The Court

instructed defendants that evidence of nonparties’ staging collisions is

admissible only if defendants can show that (1) a nonparty admitted that he

or she staged another collision in order to bring a tort claim against another

party, and (2) there is evidence that that same nonparty communicated with

one or more plaintiff in this case around the time of the subject collision.29

Defendants then filed an opposition to plaintiffs’ motion, and in response to

the Court’s order dropped all but eight of the witnesses they had previously

proposed.30




27    R. Doc. 127 at 2-7.
28    R. Doc. 154-1 at 1-2.
29    See R. Doc. 165 at 2.
30    See R. Doc. 175.

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      On April 18, 2019, the Court continued trial and ordered the parties to

appear at a status conference. 31 The Court explained that it had learned of a

federal criminal investigation in the Eastern District of Louisiana that may

be connected to this case, and ordered the parties to be prepared to discuss

whether the case should be stayed pending the outcome of that

investigation. 32 The Court also stated that “fact and expert discovery” were

closed, and that “[t]here will be no further motion practice of any kind unless

ordered by the Court.” 33

      On May 6, 2019, the Court ruled on plaintiffs’ motion to exclude lay

testimony.34 As relevant for the purposes of the instant motions, the Court

ruled that the following witnesses could testify to at least some issues at trial:

(1) Tara Blunt, (2) Harry Dorsey, (3) Charlotte Jones, (4) Raymond Riley, (5)

Cornelius Green, and (6) Joe Schembre, an investigator with J.S.

Investigations.35 Of these witnesses, only Harry Dorsey was permitted to

testify as to the staging of other collisions not involving plaintiffs. 36 The

other witnesses were allowed to testify because they have either (1) direct




31    R. Doc. 173.
32    Id.
33    Id. at 2.
34    See R. Doc. 196.
35    Id. at 7-12.
36    See id.
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knowledge of plaintiffs’ activities or movements on the day of the collision—

such that they can testify as to plaintiffs’ claims for damages and whether

they intentionally caused this specific collision—(2) direct knowledge that

plaintiffs themselves have staged other collisions, or (3) had conducted

interviews with other witnesses who were permitted to testify. 37

      There are presently three motions before the Court. First, defendants

object to Magistrate Judge Roby’s order denying them leave to file their

amended answer.38 Second, plaintiffs move for relief from the Court’s order

permitting these lay witnesses to testify at trial. 39 Third, plaintiffs move to

extend the discovery deadline so that they can conduct depositions of (1)

Tara Blunt, (2) Harry Dorsey, (3) Charlotte Jones, (4) Raymond Riley, (5)

Cornelius Garrison, (6) a Rule 30(b)(6) deposition of J.S. Investigations,

investigator Joe Schembre’s corporate entity, (7) Robert Weber, and (8)

Marlene Kennedy. 40      Neither Weber nor Kennedy are witnesses that

defendants have indicated will be called at trial.




37    See id.
38    R. Doc. 169.
39    R. Doc. 208.
40    R. Doc. 210.
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II.    LEGAL STANDARD

       A party seeking to amend its pleading after the deadline set by the

Court must show “good cause” for the amendment under Federal Rule of

Civil Procedure 16(b). S&W Enters., LLC. v. SouthTrust Bank of Ala., NA,

315 F.3d 533, 53-36 (5th Cir. 2003). “The good cause standard requires the

‘party seeking relief to show that the deadlines cannot reasonably be met

despite the diligence of the party needing the extension.’” Id. at 535 (quoting

6A Charles Alan Wright et al., Federal Practice and Procedure § 1522.1 (2d

ed. 1990)). Whether to grant or deny a continuance is within the sound

discretion of the trial court. United States v. Alix, 86 F.3d 429, 434 (5th Cir.

1996). The Court’s “judgment range is exceedingly wide” when making

scheduling decisions, for it “must consider not only the facts of the particular

case but also all of the demands on counsel’s time and the court’s.” Streber

v. Hunter, 221 F.3d 701, 736 (5th Cir. 2000) (quoting HC Gun & Knife

Shows, Inc. v. City of Houston, 201 F.3d 544, 549-50 (5th Cir. 2000)).

Courts specifically consider “(1) the explanation for the failure to [timely

move for leave to amend]; (2) the importance of the [amendment]; (3)

potential prejudice in allowing the [amendment]; and (4) the availability of

a continuance to cure such prejudice.”       S&W Enters., 315 F.3d at 536




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(quoting Reliance Ins. Co. v. La. Land & Exploration Co., 110 F.3d 253, 257

(5th Cir. 1997)) (alternations in original).

      If the Court finds that plaintiff has demonstrated good cause to modify

the scheduling order, it then applies the more liberal standard of Federal

Rule of Civil Procedure 15(a) to determine whether to grant the motion. Id.

Under Rule 15(a), the Court “freely give[s] leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a). The Supreme Court has held that “[i]f the

underlying facts or circumstances relied upon by a plaintiff may be a proper

subject of relief, he ought to be afforded an opportunity to test his claim on

the merits.” Foman v. Davis, 371 U.S. 178, 182 (1962). Leave to amend,

however, “is by no means automatic.” Halbert v. City of Sherman, 33 F.3d

526, 529 (5th Cir. 1994). The Court considers multiple factors, including

“undue delay, bad faith or dilatory motive on the part of the movant, repeated

failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment,

[and] futility of amendment.” Foman, 371 U.S. at 182.




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III. DISCUSSION

       A.    Objection to Order Denying Leave to Amend

       The Court must set aside the Magistrate Judge’s order if it is “found to

be clearly erroneous or contrary to law.” Fed R. Civ. P. 72(a); see also United

States v. Wilson, 864 F.2d 1219 (5th Cir. 1989). Because the Court finds the

order clearly erroneous, it will set it aside and permit defendants to file their

amended answer.

       Defendants seek to include in their amended answer a defense that

plaintiffs conspired to, and did, intentionally cause this collision in order to

bring a false claim for damages in court. 41 The Court must apply the Rule

16(b) factors to determine whether defendants can amend their answer after

the deadline set by the Court. See S&W Enters., 315 F.3d at 536. First,

defendants stated in their initial counterclaim on July 2, 2018, that plaintiffs

intentionally caused the collision. 42 July 2 was also the deadline to file

amended answers. 43 Defendants have provided no adequate explanation for

why they waited until January 14, 2019 to amend their answer to reflect this

contention as a defense. This factor therefore weighs against defendants.




41     R. Doc. 33-4 at 5-7, 9.
42     R. Doc. 13.
43     R. Doc. 9.
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       Second, the Court finds the amendment important to defendants.

Defendants have made clear since they filed their first counterclaim that

their main defense in this litigation is that plaintiffs intentionally caused the

collision to file a lawsuit for damages.44 Defendants did not state this defense

in their original answer.45 Allowing defendants to amend their answer to

formally reflect this defense is certainly important. This factor therefore

weighs in defendants’ favor. See Tajonera v. Black Elk Energy Offshore

Operations, LLC, No. 13-366, 2015 WL 13533519, at *4-5 (E.D. La. Jan. 30,

2015) (amended complaint considered important when it included new facts

that were critical to the plaintiff’s case-in-chief).

       Third, there is no potential prejudice to plaintiffs if the Court permits

the amendment. Again, plaintiffs have been on notice since July 2018 that

defendants planned to argue at trial that they are not liable for plaintiffs’

damages because plaintiffs staged this collision. Defendants also disclosed

this intention throughout discovery in their interrogatory responses and

during the depositions of plaintiffs.46 It has been defendants’ contention this

entire case.    Plaintiffs cannot plausibly assert they are surprised by

defendants’ motion to include this defense in their answer. This factor


44     See id.
45     See R. Doc. 4.
46     See R. Doc. 216-1; R. Doc. 216-2; R. Doc. 216-3; R. Doc. 216-4.
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therefore weighs in defendants’ favor. See Davis v. Karl, No. 10-875, 2011

WL 13203134, at *2 (E.D. La. Feb. 2, 2011) (no prejudice in allowing

amended answer to include new affirmative defense when the plaintiff was

on notice of the defendant’s intention to argue specific defense). Finally, the

availability of an additional continuance is not a factor because there is no

prejudice to plaintiffs.

      On balance, the Rule 16(b) factors therefore support a finding that

defendants should be granted leave to amend their answer. Applying the

Rule 15(a) factors supports the same conclusion. While defendants may have

exhibited undue delay in waiting to formally amend their answer, there is no

evidence of any bad faith or dilatory motive on their part. See Foman, 371

U.S. at 182. Nor have defendants repeatedly failed to cure deficiencies in

amendments the Court has previously allowed. See id. And as already

addressed, there is no prejudice to plaintiffs in granting the amendment.

      Magistrate Judge Roby denied defendants’ motion on the grounds that

granting leave to amend would be futile, because defendants failed to plead

the affirmative defense of fraud with the specificity required under the

Federal Rules. The court will now address this conclusion.

      Federal Rules of Civil Procedure 8(b) and (c) set forth the pleading

requirements for defenses and affirmative defenses, respectively. Fed. R.


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Civ. P. 8(b)-(c). A “defense” is a “stated reason why the plaintiff . . . has no

valid case.” Black’s Law Dictionary (10th ed. 2014). An “affirmative defense”

is an “assertion of facts and arguments that, if true, will defeat the plaintiff’s

. . . claim, even if all the allegations in the complaint are true.” Id. A

defendant is required to “state in short and plain terms its defenses to each

claim asserted against it” and “affirmatively state any avoidance or

affirmative defense. . . .” Fed. R. Civ. P. 8(b)(1)(A) and (c)(1).

      In Woodfield v. Bowman, the Fifth Circuit held that affirmative

defenses are subject to the same pleading requirements as a complaint and

articulated a “fair notice” standard for pleading affirmative defenses. 193

F.3d 354, 362 (5th Cir. 1999). Under this standard, a defendant is required

to plead an affirmative defense “with enough specificity or factual

particularity to give the plaintiff ‘fair notice’ of the defense that is being

advanced.” Id. (citing Automated Med. Labs. v. Armour Pharm. Co., 629

F.2d 1118, 1122 (5th Cir. 1980)). Courts in this district have continued to

apply Woodfield’s “fair notice” standard even after Iqbal and Twombly

announced a higher pleading standard for complaints. See, e.g., Harris v.

USA Ins. Cos., No. 11-201, 2011 WL 3841869, at *3 (E.D. La. Aug. 30, 2011)

(noting that in Rogers v. McDorman, 521 F.3d 381 (5th Cir. 2008), the Fifth

Circuit applied the Woodfield standard even after Twombly was decided);


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Schlesinger v. Hasco Thibodaux, LLC, No. 13-6237, 2014 WL 527657, at *2

(E.D. La. Feb. 7, 2014) (same).        Notwithstanding this typical pleading

standard, affirmative defenses of fraud must be pleaded with the

particularity required by Rule 9(b). See Fisk Elec. Co. v. Fid. & Deposit Co.

of Md., No. 12-953, 2013 WL 592907, at *5 (E.D. La. Feb. 14, 2013).

       The Magistrate Judge correctly noted that defendants cannot state an

affirmative defense of fraud. That affirmative defense requires defendants

to plead the elements of fraud under Louisiana law—including reliance. See,

e.g., Farnham v. Electrolux Home Care Prod., Ltd., 527 F. Supp. 2d 584, 588

(W.D. Tex. 2007) (holding that because reliance was an element of fraud

under Texas law, “a disclaimer of reliance precludes a party from raising

fraud as an affirmative defense”). Defendants’ assertions throughout this

litigation are incompatible with fraud, because defendants do not allege that

they ever believed plaintiffs’ representations to be true.

       But defendants’ proposed amendment is not futile.        Defendants’

assertion that plaintiffs conspired to, and did, intentionally cause this

collision to recover damages in litigation is simply a defense to plaintiffs’

negligence claim. 47 This defense complies with the pleading standard for

defenses set by Rule 8(b). It is a statement in “short and plain terms”


47     R. Doc. 33-4 at 4 ¶ 13, 5-6 ¶ 15, 9 ¶ 27.
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explaining why plaintiffs’ claim for negligence fails.          Fed. R. Civ. P.

8(b)(1)(A).

       The proposed amended answer also contains a properly-pleaded

affirmative defense along these lines.        Defendants assert that even if

plaintiffs can establish Chambers acted negligently, defendants should not

be held fully liable for plaintiffs’ injuries because plaintiffs’ “intentional acts

. . . contributed to the occurrence of the alleged accident” and their

damages.48     This statement is akin to “illegality” and “contributory

negligence,” both of which are affirmative defenses listed in Rule 8(c). See

Fed. R. Civ. P. 8(c). This affirmative defense is adequately pleaded because

defendants provide plaintiffs with “fair notice” of the nature of the defense

and what arguments they will make at trial. See Woodfield, 193 F.3d at 362. 49

       Because defendants’ assertions in their proposed amended answer

satisfy the pleading standards for defenses and affirmative defenses in Rules

8(b) and (c), amendment is not futile. In all, because defendants’ motion

satisfies Rules 16(b) and 15(a), the Court will set aside the Magistrate Judge’s

order and grant defendants leave to amend their answer.




48    Id. at 5 ¶ 14, 6-7 ¶ 16.
49    Defendants’ answer would also satisfy the Iqbal and Twombly
pleading standards.

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       B.    Motion to Permit Depositions of Fact Witnesses

       Plaintiffs move for leave to conduct eight depositions after the

discovery deadline has passed.50 They seek to depose (1) Tara Blunt, (2)

Charlotte Jones, (3) Raymond Riley, (4) Cornelius Garrison, (5) Marlene

Kennedy, (6) Harry Dorsey, (7) a Rule 30(b)(6) deposition of J.S.

Investigations, and (8) Robert Weber. 51 Plaintiffs’ motion is denied. As an

initial matter, plaintiffs’ motion violates the Court’s order that “[t]here will

be no further motion practice of any kind unless ordered by the Court.”52

Plaintiffs’ motion is denied for this reason alone.       Plaintiffs’ motion is

separately denied under Rule 16(b) for each of the witnesses they seek to

depose.

             1.    Tara Blunt, Charlotte Jones, Raymond Riley, Cornelius
                   Garrison, and Marlene Kennedy
       First, plaintiffs have not provided an adequate explanation for their

delay in deposing these individuals to justify an extension of the discovery

deadline. See S&W Enters., 315 F.3d at 536. The record reflects that

plaintiffs were on notice as early as October 2018 that each of these

individuals was relevant to defendants’ argument that this collision was



50     R. Doc. 210.
51     R. Doc. 210-1 at 3.
52     R. Doc. 173.

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staged.    On October 18, 2018, defendants asked each plaintiff during

depositions whether they knew these individuals. 53 Defendants’ briefing

papers in connection with their motion to alter the Court’s dismissal of their

counterclaim also included many of these individuals’ names, and linked

them to other similar accidents on Interstate 10. 54 Those briefs were filed in

October and November 2018.55 Then, on February 23, 2019, nearly one

month before the deadline, defendants disclosed in an interrogatory

response that they intended to call each of these individuals to testify at

trial. 56 In that response, defendants stated the topics on which each witness

would testify.57 The record thus reflects that before the discovery deadline,

plaintiffs were aware (1) of these individuals’ identities, (2) that defendants

had linked many of them to other similar collisions on Interstate 10, and (3)

of defendants intention to have them testify at trial and the matters on which

they could testify. Plaintiffs nevertheless chose not to depose them. There is


53    See R. Doc. 216-1; R. Doc. 216-2; R. Doc. 216-3.
54    See R. Doc. 22-1; R. Doc. 32.
55    Id.
56    R. Doc. 210-1 at 5; R. Doc. 216-4 at 2-5.
57    R. Doc. 210-1 at 5-7. Plaintiffs contend that defendants’ disclosure was
materially different from their witness list, which was filed into the record at
the close of discovery in accordance with the Court’s scheduling order. But
a comparison of the disclosure with the witness list reveals that they were
substantially the same. See id. Plaintiffs’ argument that any insufficiency in
defendants’ interrogatory responses justifies an extension of the discovery
deadline is therefore unavailing.
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not good cause to extend the discovery deadline in such a circumstance. See

EEOC v. Prod. Fabricators Inc., 285 F.R.D. 418, 422-23 (D. Minn. 2012)

(finding no good cause to reopen discovery to allow a party to further depose

a witness, when the party “made a strategic decision about what to ask [the

witness] during his deposition”).

       In addition, the record suggests that plaintiffs personally know some

of the individuals they now seek to depose. Defendants assert—and plaintiffs

have never fully rebutted—that these individuals are either related to

plaintiffs or otherwise have some social connections to them. 58 For instance,

plaintiffs Antoine Clark and Shirley Harris both stated during their

depositions that they were at Tara Blunt’s apartment before the collision. 59

Plaintiffs also concede that Harris spoke to Cornelius Garrison on the day of

the collision. 60 Plaintiffs have also produced to the Court a sworn affidavit

from Marlene Kennedy, in which she recants statements she previously

made regarding staging accidents.61 This affidavit suggests that plaintiffs or

their counsel have had access to Kennedy.        That plaintiffs have these




58     See R. Doc. 21-1 (defendants’ proposed amended counterclaim).
59     R. Doc. 175-1 at 7; R. Doc. 175-2 at 3-4.
60     See R. Doc. 208-1 at 9.
61     See R. Doc. 208-3.
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connections reinforces that plaintiffs have no good explanation for why they

were not able to depose these individuals during the discovery deadline.

       Plaintiffs’ stated explanation for their inability to depose these

individuals before the discovery deadline is that they believed their

testimony was not relevant at trial, and therefore they did not want to

“burden plaintiffs with unnecessary costs.” 62    Plaintiffs state that they

believed their testimony was not relevant because the Court had dismissed

defendants’ counterclaim twice, and because the Magistrate Judge denied

defendants leave to amend their answer on April 5, 2019. 63         But any

suggestion that the Magistrate Judge’s order influenced plaintiffs’ decision

not to depose these individuals before the discovery deadline fails, because

that order was issued more than two weeks after the discovery deadline.64

Plaintiffs’ argument that the Court’s prior dismissal of defendants’

counterclaim somehow justifies their decision not to depose these

individuals during discovery is similarly unavailing. The Court dismissed

defendants’ counterclaim because they failed to state a cognizable cause of

action for fraud under Louisiana law. 65 This decision was irrelevant to




62     R. Doc. 210-5 at 10.
63     Id. at 9-10.
64     See R. Doc. 9; R. Doc. 147.
65     See R. Doc. 20 at 6-8.
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defendants’ defense that they should not be held liable for plaintiffs’ alleged

injuries because plaintiffs staged the collision.         Plaintiffs’ apparent

misunderstanding of the difference between a counterclaim and a defense

does not constitute good cause to now conduct these depositions.

       As already mentioned, plaintiffs were on notice in July 2018—when

defendants filed their initial counterclaim—that defendants would assert this

defense at trial. 66 Defendants then moved for leave to file their amended

answer on January 14, 2019 to formally include this defense in their

answer.67 That motion was pending up to and through the March 18, 2019

discovery deadline. Plaintiffs were thus aware well before the discovery

deadline that defendants intended to assert this defense at trial, but opted to

move to exclude these individuals from testifying rather than depose them. 68

Plaintiffs are not entitled to a do-over now.

       Next, plaintiffs do not show the importance of conducting these

depositions. Plaintiffs argue that they are important (1) because the Court

instructed plaintiffs’ counsel at the pretrial conference to investigate whether

plaintiffs’ claims in this litigation are true, and (2) because “the truth needs




66     See R. Doc. 13.
67     R. Doc. 33.
68     R. Doc. 154.

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to be uncovered so that this case can either be dismissed or so that this case

can proceed to trial.” 69     This is a woeful excuse to reopen discovery.

Discovery is conducted for the benefit of the parties, not the parties’

attorneys. The Court’s statement to counsel was a reminder that they should

take it upon themselves to ensure that they are not representing parties who

are making untruthful claims. That inquiry of course should have been made

at the beginning of this litigation, or whenever counsel enrolled in it. It is

not a reason to reopen discovery.

       Finally, defendants would be prejudiced by granting this extension,

because they would have to expend resources defending these depositions

when the discovery deadline has already passed. Plaintiffs therefore have

not shown good cause to depose these witnesses under Rule 16(b).

             2.    Harry Dorsey
       Plaintiffs’ motion to depose Harry Dorsey is also denied under Rule

16(b). Plaintiffs explain that Dorsey was not disclosed as a potential witness

in defendants’ interrogatory responses, and that they therefore did not learn

of Dorsey’s potential testimony until defendants filed their witness and

exhibit list on March 18, 2019.70 March 18 was also the discovery deadline.71



69     R. Doc. 210-1 at 11.
70     Id. at 10.
71     R. Doc. 9.
                                      22
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But defendants disclosed Dorsey’s identity in a brief filed in November 2018,

in which they identified him as part of a similar collision on Interstate 10

around the time of plaintiffs’ collision. 72 Defendants’ February 23, 2019

interrogatory responses also connected Dorsey to a similar collision. 73

Plaintiffs were thus on notice before the discovery deadline that defendants

believed Dorsey to be relevant to their argument that plaintiffs staged this

collision, but plaintiffs still chose not to depose him.

       In addition, plaintiffs evidently have had access to Dorsey already,

because they are in possession of his sworn affidavit in which he recants his

prior statements regarding staging another collision. 74 This affidavit lessens

the importance of his deposition, because plaintiffs already possess

impeachment evidence. Plaintiffs therefore have not shown good cause to

extend the discovery deadline to depose Dorsey.

             3.    J.S. Investigations
       Plaintiffs also seek to conduct a Rule 30(b)(6) deposition of J.S.

Investigations. J.S Investigations was disclosed in defendants’ February 23,

2019 interrogatory response as investigator Joe Schembre’s corporate




72     R. Doc. 32 at 8.
73     R. Doc. 216-4 at 11.
74     R. Doc. 208-2.
                                         23
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entity.75   Plaintiffs therefore do not have good cause to conduct this

deposition for the reasons already stated.

             4.   Robert Weber
       Lastly, plaintiffs seek to depose Robert Weber, an investigator who

secured a recorded statement from Marlene Kennedy in which she admitted

to having knowledge of other individuals staging collisions.76 Plaintiffs state

that the statement was videotaped, and in the video Weber is seen buying

Kennedy food and handing her twenty dollars.77 Plaintiffs argue that this

video “raises questions” whether defendants are “paying witnesses” to offer

statements favorable to defendants. 78 Plaintiffs do not state when they

received this recorded statement. Defendants state in their brief that they

produced it to plaintiffs on January 29, 2019.79 Their February 23, 2019

interrogatory response indeed refers to this recorded statement.80 The

record before the Court thus indicates that plaintiffs were aware of this

recorded statement prior to the discovery deadline, but chose not to pursue




75     R. Doc. 216-4 at 7.
76     R. Doc. 210-1 at 12.
77     Id.
78     Id.
79     R. Doc. 216 at 9.
80     R. Doc. 216-4 at 13-14.
                                      24
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Weber’s deposition. They therefore do not have good cause to conduct this

deposition for the reasons already stated.

       C.    Motion to Alter or Amend the Court’s Order

       This motion also violates the Court’s order that motion practice is

closed, and is dismissed on that basis alone. 81 It is also dismissed on the

merits.

       Plaintiffs’ motion is brought under Rule 60(b) to alter the Court’s prior

order denying plaintiffs’ motion to exclude certain witnesses from testifying.

A district court has broad discretion to grant or deny a motion under Rule

60(b). Halicki v. La. Casino Cruises, Inc., 151 F.3d 465, 470 (5th Cir 1998).

Under Rule 60(b), a court may grant relief from a final judgment or order

only upon a showing of:

       (1) mistake, inadvertence, surprise, or excusable neglect;
       (2) newly discovered evidence which by due diligence could not
       have been discovered in time to move for a new trial under Rule
       59(b);
       (3) fraud (whether previously called intrinsic or extrinsic),
       misrepresentation, or other misconduct of an adverse party;
       (4) the judgment is void;
       (5) the judgment has been satisfied, released, or discharged, or a
       prior judgment upon which it is based has been reversed or




81     R. Doc. 173.
                                       25
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       otherwise vacated, or it is no longer equitable that the judgment
       should have prospective application; or
       (6) any other reasons justifying relief from the operation of the
       judgment.
Fed. R. Civ. P. 60(b). The burden of establishing at least one of these reasons

is on the moving party, and the determination of whether that burden has

been met rests with the discretion of the Court. See Lavespere v. Niagra

Mach. & Tool Works, Inc., 910 F.2d 167, 173 (5th Cir. 1990).

       Plaintiffs’ motion is largely a refutation of the Court’s determination

on the merits. 82 Plaintiffs argue that the witnesses the Court has permitted

to testify are not relevant to this case. This is not a proper basis for a motion

under Rule 60(b).

       But plaintiffs do identify one Rule 60(b) reason in their motion.

Plaintiffs state that defendants misrepresented evidence that they submitted

to the Court in their opposition to plaintiffs’ motion to exclude Harry

Dorsey. 83 See Fed. R. Civ. P. 60(b)(3) (“misrepresentation” by opposing

party is grounds for relief from order). Defendants submitted plaintiff

Shirley Harris’s phone records to the Court, and stated that in those records

was evidence that Dorsey had been in contact with Harris around the time of



82     See R. Doc. 208-1.
83     Id. at 5-6.

                                       26
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the collision. Plaintiffs now submit an affidavit from Harris, in which she

states that the phone number defendants claimed belonged to Dorsey—504-

300-3555—is actually the number for Harris’s cousin Danielle.84             In

response, defendants have produced a “Patient Information” form that they

state is from Dorsey’s medical records, in which Dorsey listed his phone

number as 504-300-3555. 85

       This is a factual dispute between the parties that can be addressed

during Dorsey’s testimony at trial. It is not grounds to alter the Court’s

judgment. But defendants are instructed that—consistent with the Court’s

prior orders—they must lay a foundation at trial that Dorsey was in contact

with Harris around the time of the subject collision before eliciting testimony

about other collisions Dorsey claims to have staged.




84     See R. Doc. 208-4.
85     R. Doc. 215 at 5; R. Doc. 215-2.
                                          27
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IV.   CONCLUSION

      For the foregoing reasons, the Magistrate Judge’s order denying

defendants’ motion for leave to file a supplemental and amending answer is

set aside, and defendants’ motion for leave to file a supplemental and

amending answer is GRANTED. Plaintiffs’ motions are DENIED.



          New Orleans, Louisiana, this _____
                                        28th day of May, 2019.


                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




                                   28
